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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,    )
                             )
          Plaintiff,         )                               8:05CR157
                             )
     v.                      )
                             )
FILEMON VENTURA-SALMERON and )                                 ORDER
ARTURO HERNANDEZ,            )
                             )
          Defendants.        )
                             )



      The Clerk’s Office has requested that Document Number 25 be stricken from the

record for the following reason:

             •      Incorrect judge information.

      IT IS THEREFORE ORDERED that the Clerk’s Office shall strike Document Number

25 from the record. The document has been re-filed.

      DATED this 24th day of May, 2005.

                                         BY THE COURT:


                                         s/ Thomas D. Thalken
                                         United States Magistrate Judge
